Case 2:11-cr-01075-S.]O Document 177 Filed 11/09/11 Page 1 of 2 Page |D #:577

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

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El lnformation

E( Indictment
NOTE: All items are to be completed. Information not applicable or unknown 'sht'ril”betin¢;`licat,`e,§,l`zj_§w "N/A".

oFFENsE/vENUE
a. Offense charged as a:
'. I:l Misdemeanor _ |:| Minor Offense |Y{Felony
, l:| Petty Offense ij Class B Misdemeanor
b_ Date of offense Date unknown through October 27, 2011

c.. County` 1n which first offense occurred
Los Angeles

d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY

E(Los Angeles l:|' Ventura

ij Orange |Il Santa Barbara

[] Riverside l:l San Luis Obispo
4 |:l San Bernardino |:|` Other

Citation of offense

 

 

RELATED cAsE
Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial? |I(No |:l Yes

4 IF YES Case Number-

 

Pursuant to Section ll of General Order 08-05, criminal cases
may be related if a previously filed indictment or information
and the present case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or`

b. involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by difference judges. `

Related case(s), if any: MUST MATCH NOTICE oF RELATED

CASE

 

PREVIOUSLY FILED COMPLAINT
A complaint was previously filed on:
Case Number

 

 

 

 

Investigative agency (FBI, DEA, etc.) Cal. D;{;D'$I:t HGELF<;

 

5" §;1_§§;:;
2
Defendant Number 17 ` `
YearofBirth 1954;‘ ;'¢~ am wear

 

 

‘”' LALIF

COMPLEX CASE

Are there 8 or more defendants in the Indictment/Infonnation?
|I(Yes* \El No

Will more than 12 days be required to present government’s

evidence in the case-in-chief?
|I(Yes* |:] No

*AN ORIGINAL AND 3 COPlES (UNLESS ELECTRONICALLY FlLED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED 2 BUSINESS
DAYS BEFORE THE ARRAIGNMENT IF EITHER YES BOX IS
CHECKED.

Superseding Indictment/Information

IS THIS A NEW DEFENDANT ? E| Yes El No
This is the superseding charge, i.e. l“, 2“".

The superseding case was previously filed on:

 

Case Number

 

The superseded case:
l:] is still pending before Judge/Magistrate Judge

 

|:| was previously dismissed on

Are there 8 or more defendants in the superseding case?
l:l Yes* |:| No

Will more than 12 days be required to present government’s

evidence in the case-in-chief`?
|:I Yes* l:l No

Was a Notice of Complex Case filed on the Indictment or

Information?

l:| Yes |:l No

*AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX CASE
MUST BE FILED 2 BUSINESS DAYS BEFORE THE ARRAIGNMENT IF

 

 

Charging ElTHER YES Box Is cHEcKED.
The complaint ij iS Siiii pending ' Is an interpreter required: l_:l Yes |Il No
m Was dismissed On: ' IF YES, list language and/or d1alect.
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cR-72 (10/08)

 

CaSe 2':1'1-cr-01075-S.]`O Document 177 Filed 11/09/11 Page 2 of 2 Page |D #:578

UNITED STATES DISTRICT COURT .
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

 

CASE SUMMARY
OTHER CUSTODY STATUS
ii(Male ij Female Defendant is not in custody: l
MU.S. Citizen ij Alien a. Date and time of arrest on complaint
Alias Name(s) b. Posted bond at complaint level on:
in the amount of $ _

. . . . PSA supervision? ij Yes ij No
rh dr d t h d z mAn t °.,

ls e en an is c arge 111 coun s d. ls a`Fugitive ._ m Yes MNO

MOnly counts: 1. 2, 13

ij This defendant ' is designated as “High Risk” per
18 USC 3146(a)(2) by the U.S. Attorney.

ij This defendant is designated as “Special Case”
per 18 USC 3166(b)(7). .

' ls defendant a juvenile? ij Yes MNO
IF YES, should matter be sealed? ij Yes ij No
The area of substantive law that will be involved in this case
includes:

ij public corruption
ij tax offenses
ij mail/wire fraud

ij financial institution fraud
M government fraud `
ij environmental issues

 

 

 

 

e. ls on bail or release from another district:

 

f. ij Has not been arrested but will be notified by summons
to appear.

g. vWarrant requested. N(Yes ij No '
Defendant‘ is in custody:
a. Place of incarceration: ij State ij Federal

b. Name of lnstitution:
c. If Federal: U.S'. Marshal's Registration Number:

 

 

d. ij Solely on this charge.' Date and time of arrest:

 

 

 

 

 

 

 

ij narcotics offenses ij immigration offenses e, On another conviction: ij Yes ij No
[J violent crimes/firearms » ij corporate fraud IF YES ij State ~ ij Federal ij Writ of Issue
ij Other: f. Awaiting trial on other charges: |Yers ij No
IF YES MState. E Federal AND
Name of Court: LA County Superior Court
Date transferred to federal custody:'
This person/proceeding is`transferred from another district
pursuant to F.R.CrP. 20 21 _ 40
EXCLUDABLE TIME
Determinations as to excludable time prior to filing indictment/information EXPLAIN:

 

Date November 9, 2011

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B_e iamin R. Barron
rim Name

 

CR-72 (10/08)

CASE SUMMARY

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